Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page1of58

falling objects, earthquake forces, malicious mischief, and vandalism coverd by the TIE POLICY,
and Alice Graham was sued by Carol Kay with respect to operations of the CONDOMINIUM
CMOPLEX. The SMOLKERS made a timely claim for property damage covered by the TIE
POLICY and tendered defense of the liability lawsuit to TIE. .

139. In breach of the TIE POLICY, TIE denied the existence of the Medical Pay
provision of the TIE POLICY, TIE denied the existence of the property damage provision of the

TIE POLICY and TIE denied the existence of liability coverage under the TIE POLICY, and TIE|

refused to pay medical benefits owing to the SMOLKERS, refused to pay for repair of property
damage and refused to defend Alice Smolker in the suit brought by Carol Kay..

140. As a direct and proximate result of TIE’s breach of contract the SMOLKERS were
not promptly paid insurance benefits owing; the SMOLKERS had to live with the property
damage and contamination of the common areas that TIE should have paid to have cleaned up,
the SMOLKERS had to provide their own defense to the action brought by Carol Kay against
Alice Graham, and the SMOLKERS had to sue TIE in order to obtain benefits owing. The
SMOLKERS have been damaged in a stir to be proved at trial in the amount of medical expenses
already incurred and in the additional amount of future medical treatments ascertained or
unascertained which will be necessary to treat the bodily injury suffered by Gary Smolker, Alice
Smolker, Leah Smolker and Judi Smolker, which have not yet been paid by TIE. TIE has been
unjustly enriched by the amount of medical expenses TIE should have promptly paid and did not
pay promptly, the amount TIE should have paid to repair damage to the common areas, and TIE
will be unjustly enriched in the future by an additional sum equal to the amount of future medical
expenses to be incurred by the SMOLKERS that TIE should pay but refuses to pay. The amount
of unjust enrichment, defense costs, and cost to repair or replace damaged property will be provec
at time of trial.

141. The SMOLKERS have suffered emotional damages, injury to their health, loss of
earnings and loss of earning capacity as a direct and proximate and foreseeable result of TIE’s

breach of contract in an amount to be proved at time of trial.

~62- _

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 2 of 58

WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as

hereinafter set forth.
TWENTY-FIFTH CAUSE OF ACTION FOR BREACH
OF DUTY OF GOOD FAITH AND FAIR DEALING AGAINST TIE

142, The SMOLKERS incorporate herein by reference as though fully set forth herein
Paragraphs 135 through 141 of this cross-complaint with the same force and effect as though said
paragraphs were set forth fully at this point.

143. Implied in the TIE POLICY are covenants by TIE that TIE would act in good faith
and deal fairly, only engage in fair practices in dealing with the SMOLKERS and would treat the
SMOLKERS with decency and humanity and not abuse its discretionary power and authority
when processing the SMOLKERS’ claim for medical benefits, property damage and provision of
a defense to a liability lawsuit, atnd would do nothing to interfere with the SMOLKERS? nights to
receive medical payment benefits, or any other benefits under the TIE POLICY.

144. At all times since receipt of notice of the contamination problem in the SMOLKERS
home, TIE has known the SMOLKERS were entitled to medical payments under the TIE
POLICY and that TIE had a duty to disclose benefits owing under the TIE POLICY to the
SMOLKERS. But, TIE refused to disclose benefits owing to the SMOLKERS, and without
reasonable cause denied the SMOLKERS’ claims. Upon receipt of the SMOLKERS’ claim for
payment of medical expenses, for property damgage and tender of defense TIE knew that the
SMOLKERS were entitled to payment of medical expenses, a defense of the Carol Kay lawsuit,
and repair and clean up of the pesticide contamination in the common areas and repair of equake
damage and wind damage and explosiion damage and falling objects damage, and wrongfully,
deliberately and without just cause refused to pay any of the SMOLKERS’ medical expenses, and
refused to offer a defense to the Carol Kay lawsuit, and refused to repair any property damage
and forced the SMOLKERS to sue TIE in order to obtain medical payment benefits owing to the
SMOLKERS, defendse owing to Alice Graham and repair of property damage, in breach of TIE’s
covenant of good faith. In further breach of TIE’s covenant of good faith, TIE has informed the

-63-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 3of58

SMOLKERS that the TIE would promptly take care of the problem in the SMOLKERS’ home
and take care of it, and demanded that the SMOLKERS not alter the condition of the
SMOLKERS’ home until TIE was done inspecting and testing the SMOLKERS’ home, when
TIE had no intention to promptly investigate the contamination problem in the SMOLKERS’
home or to take care of it. Although repeatedly invited to do so, TIE never inspected or tested
the SMOLKERS’ home. TIE forced the SMOLKERS to bring and prosecute a lawsuit to receive
any payment for medical expenses, etc. from TIE.

145. Asa direct and proximate result of TIE’s bad faith conduct, and breach of fiduciary
duties, the SMOLKERS have suffered compensable losses, including benefits withheld, physical
injury, property damage, additional medical expenses, loss of strength, loss of earning capacity
and earnings, embarrassment and humiliation, anxiety and frustration, and severe mental and
emotional distress and discomfort, all to the SMOLKERS damage in amounts not fully
ascertainable but within the jurisdiction of this court in an amount to be proved at the time of trial.

146. Cross-defendant TIE’s conduct described herein was done willfully with a conscious
disregard of the SMOLKERS’ nghts and with intent to vex, cause unjust hardship to, injure and
annoy the SMOLKERS, such as to constitute oppression, fraud and malice under California Civil
Code Section 3294 entitling the SMOLKERS, and each of them, to punitive damages in an
amount appropriate to punish and set an example of cross-defendant TIE by means of
punishment.

WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.

TWENTY-SIXTH CAUSE OF ACTION
FOR BREACH OF CONTRACT AGAINST TIG

147. The SMOLKERS incorporate herin by reference as through fully set forth herein
Paragraph 120 of this cross-complaint with the same force as if fully set forth at this point.

148. While the TIG policies described above were in effect, Gary Smolker and Alice

Smolker incurred medical, x-ray, surgical, dental and hospital expenses for bodily injuries,

64-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 4of58

sustained while in their insured automobiles as a result of an accident, and property damage to
their automobiles, covered by the TIG auto policy and made a timely claim for medical benefits
owing to Gary Smolker and Alice Smolker under the TIG auto policy to TIG, and for proerpty
damgae to their automobile, and damage to their personal property covered by their homeowners
policy and tendered defense of the Carol Kay lawsuit to TIG.

149. In breach of the TIG policies, TIG denied the existence of the Medical Pay provision
of the TIG auto policy and the property damage coverage of the homeowner policy, the
earthqualke damage coverage of the earthquake policy and the liability coverage under the
homeowner and umbrella policies issued to the SMOLKKERS by TIG. TIG refused to pay
medical benefits owing to the SMOLKERS.

150, As a direct and proximate result of TIG’s breach of contract the SMOLKERS were
not promptly paid insurance benefits owing; the SMOLKERS had to sue TIG in order to obtain
benefits owing; and, the SMOLKERS have been damaged in a sum to be proved at trial in the
amount of medical expenses already incurred and in the additional amount of future medical
treatments ascertained or unascertained which will be necessary to treat the bodily injury suffered
by Gary Smolker, Alice Smolker, Leah Smolker and Judi Smolker, which have not yet been paid
by TIG, and the SMOLKERS suffered ohyateal injury to their bodies and property. TIG has been
unjustly enriched by the amount of medical expenses TIG should have promptly paid and did not
pay promptly, the amount TIG should have paid for the SMOLKERS to move out and live
somewhere else, the amount TIG should have paid to replace or repair the damaged property
insured under the TIG policies and sturctural enigneering fees and defense costs for defendaing
the lawsuit brought by Carol Kay against Alice Grahm. TIG will be unjustly enriched in the future
by an additional sum equal to the amount of future medical expenses to be incurred by the .
SMOLKERS that TIG should pay but refuses to pay. The amount of unjust enrichment will be

proved at time of trial.

65-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page5of58

151. The SMOLKERS have suffered bodily injures, loss of strength, emotional damages,
and loss of earnings and earning capacity as a direct and proximate and foreseeable result of
TIG’s breach of contract in an amount to be proved at time of trial.

WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.

TWENTY-SEVENTH CAUSE OF ACTION FOR BREACH
OF DUTY OF GOOD FAITH AND FAIR DEALING AGAINST CAINCO

152. The SMOLKERS incorporate herein by reference as though fully set forth herein
Paragraphs 147 through 151 of this cross-complaint with the same force and effect as though said
paragraphs were set forth fully at this point.

153. Implied in the TIG policies are covenants by TIG that TIG would act in good faith
and deal fairly, only engage in fair practices in dealing with the SMOLKERS and would treat the
SMOLKERS with decency and humanity and not abuse its discretionary power and authority
when processing the SMOLKERS’ claim for medical benefits, property damage, and relocation
expenses, and would do nothing to interfere with the SMOLKERS’ rights to benefits under the
TIG policies..

154. At all times since receipt of notice of the contamination problem in the SMOLKERS
home, TIG has known the SMOLKERS were entitled to medical payments, relocation costs,
replacement of contaminated furnishings and defense of the Carol Kay lawsuit under the TIG
policies issued to the SMOLKERS and that TIG had a duty to disclose benefits owing under the
TIG policies to the SMOLKERS and to promply and prudently investigate the SMOLKERS’
claims. But, TIG refused to and rfused to acknolwedge benefits owing to the SMOLKERS..
Upon receipt of the SMOLKERS’ claim for payment of medical expenses, TIG knew that the
SMOLKERS were entitled to payment of medical expenses and wrongfully, deliberately and
without just cause refused to pay any of the SMOLKERS’ medical expenses, and refused to pay
for replacement of the SMOLKERS contaminated property and relocation living expenses nad

structural engineering expenses and forced the SMOLKERS to sue TIG in order to obtain

-66-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 6 of 58

medical payment and other benefits owing to the SMOLKERS, in breach of TIG’s covenant of
good faith. In further breach of TIG’s covenant of good faith, TIG had informed the
SMOLKERS that the TIG would promptly investigate the problem in the SMOLKERS’ home
and take care of it, but instead unreasonably delayed investigating the SMOLKERS’ claim, sent
out people who were not qualified to investigate the SMOLKERS’ claim and denied the
SMOLKERS’ claim. and prosecute a lawsuit to receive any payment for benefits owing to the
SMOKERS from TIG.

155. Asa direct and proximate result of TIG’s bad faith conduct, and breach of fiduciary
duties, the SMOLKERS have suffered compensable losses, including benefits withheld, physical
injury, property damage, additional medical expenses, loss of strength, loss of earning capacity
and earnings, embarrassment and humiliation, anxiety and frustration, and severe mental and
emotional distress and discomfort, all to the SMOLKERS damage in amounts not fully
ascertainable but within the jurisdiction of this court in an amount to be proved at the time of trial.

156. Cross-defendant TIG’s conduct described herein was done willfully with a conscious
disregard of the SMOLKERS’ nights and with intent to vex, cause unjust hardship to, injure and
annoy the SMOLKERS, such as to constitute oppression, fraud and malice under California Civil
Code Section 3294 entitling the SMOLKERS, and each of them, to punitive damages in an
amount appropriate to punish and set an example of cross-defendant TIG by means of
punishment.

WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.

TWENTY-EIGHT CAUSE OF ACTION
FOR BREACH OF CONTRACT AGAINST FRONTIER

157. FRONTIER knows what the contract is, what its breach is and what damages are
being claimed by the SMOLKERS. The court’s page limit does not allow setting forth allegations
concerning this cause of action. The court’s time limit did not allow enought time to plead this

cause of action in any further detail or to edit this fifth amended cross-complaint.

7-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 7 of58

WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.
TWENTY-NINETH CAUSE OF ACTION
FOR BREACH OF CONTRACT AGAINST RELIANCE
158. RELIANCE knows what the contract is, what its breach is and what damages are
being claimed by the SMOLKERS. The court’s page limit does not allow setting forth allegations
concerning this cause of action. The court’s time limit did not allow enought time to plead this
cause of action in any further detail or to edit this fifth amended cross-complaint.
WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.
THIRTIETH CAUSE OF ACTION
FOR FRAUD AGAINST MORRIS, HOME SAVING, GRACE, GRACE DAVISON,
TIE, FIG, COREGIS, CAINCO, CIC, TIG
159. The cross-defendants named in this cause of action know what the fraud is, what its
and what damages are being claimed by the SMOLKERS. The court’s page limit does not allow
setting forth allegations concerning this cause of action. The court’s time limit did not allow
enought time to plead this cause of action in any further detail or to edit this fifth amended cross-
complaint.
‘WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as
hereinafter set forth.
THIRTY FIRST CAUSE OF ACTION
FOR INTERFERENCE AGAINST MORRIS, HOME SAVING, CAINCO, COREGIS,
CIC, TIE, FIG, GRACE AND GRACE DAVISON
160. The cross-defendants named in this cause of action know what the interfence is, and
what damages are being claimed by the SMOLKERS. The court’s page limit does not allow

setting forth allegations concerning this cause of action. The court’s time limit did not allow

-68-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 8 of 58

enought time to plead this cause of action in any further detail or to edit this fifth amended cross-
complaint.
WHEREFORE, cross-complainants Gary Smolker and Alice Smolker pray judgment as

hereinafter set forth.

ON ALL CAUSES OF ACTION

1. For general damages and special damages according to proof in an amount in excess of]
the minimum jurisdiction of the above entitled court.

2. For damages for past and future medical and dental related expenses according to
proof at time of trial.

3. For damagés to personal property and to real property, and for loss of use of property
according to proof at time of trial.

4, For exemplary damages and punitive damages in an amount the court deems just and
reasonable.

5. Prejudgment interest as allowed by law.

6. Costs of suit herein.

7. Such other and further relief which the court deems just and proper.

8. For an order directing the owners of each condominium in the CONDOMINIUM
COMPLEX to pay a pro-rata contribute share of the costs incurred by cross-complainants and a
prorata contributive share of the reasonable value of cross-complainants services in prosecuting
actions seeking order directing the manner and method to be followed to abate the nuisance(s)
and dangerous conditions existing at the CONDOMINIUM COMPLEX, to stop waste from
continuing at the CONDOMINIUM COMPLEX, and for recovery of costs necessary for repair or
replacement of contaminated property from HOME SAVING, GRACE, GRACE DAVISON,
TIE, MORRIS, and HOME SAVING, and that a lien be impressed on each owner’s interest in the

common areas to secure the payment of each owner’s share and that such lien be foreclosed by

69-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 9of58

the court.

9. For an order directing each owner, GRACE, GRACE DAVISON, HOME SAVING,
MORRIS, and TIE to do whatever the court deems necessary to abate the nuisance and illegal
condition of having an unregistered poison, termite infestations and termite damages in the
common areas..

Dated: August 12, 1999.
Law Offices of Smolker & Graham

Lory Sy boe

Gary S. Smolker

Attorneys for Cross-complainants Gary and Alice Smolker

-70-

FIFTH AMENDED CROSS COMPLAINT

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 10 of 58

DECLARATION OF SERVICE BY MAIL

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

I am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the within action. My business address is 4720 Lincoln Blvd., Suite 250,
Marina del Rey, California 90292.

On August 12, 1999, I served the attached document described as follows:

FIFTH AMENDED CROSS-COMPLAINT
on the interested parties in this action by facsimile for the fax number(s) listed, and by causing a
true copy thereof enclosed in a sealed envelope(s), addressed as follows to be placed in the U.S.
Mail at Los Angeles, California:
See Attached Service List

Iam “readily familiar” with the firm’s practice of collection and processing of
correspondence for mailing. Under that practice, correspondence placed in envelopes is deposited|
in the U.S. postal service on the same day with postage thereon fully prepaid at Los Angeles,
California in the ordinary course of business. I know the envelope was sealed and, with postage
prepaid, placed for collection and mailing on this date, following ordinary business practice, in the
United States Mail at Los Angeles, California. I am aware that on motion of party served, service
is presumed invalid if postal cancellation date or postage meter date is more than one (1) day after
date of deposit for mailing in affidavit.

I declare under the penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

Executed on August 12, 1999 at Marina del Rey, California.

Make pil

DeclServ

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 11 of 58
Us4757 20

_ KNOX cor Gase 01-01139- ANIC {B68 t61-1 Filed 05/0:

Actorneys
and cross-complainant,
VILLAS HOMEOWNERS '

HOLLINS, SCHECHTER & FEINSTEIN
ANDREW S.
THOMAS M.
BRYAN R- BUSH, #1344435
505 south Main Street,
Orange,

HOLLINS, #30194
CONDAS , #113913

cA 92856
(714) 558-9119

for cross-defendant
PACIFIC
zSSOCIATION

SUPERIOR COURT OF

INSURANCE COMPANY, 2 }
fornia Corporation,

L

GARY SMOLKER, an jndividual,
and ALICE SMOLKER, an
individual, and DOES 1-10.
inclusive,

pefendants.

GarY SMOLKER and ALICE
SMOLKER, .

Cross-Complainants,

Ve

INC.; W.F. MORRIS; RIKK
THOMPSON; W-R. GRACE & CO.;
GRACE DAVISON;
COSTELLO; ;
MATTHEW JOHN FREDERICKS ;
VIRGINIA K. CIPRIANO; JOSEPH

BR. BAILEY TI; CAROL Dp. KAY,
TRUST; CAROL D. KAY REVOCABLE
3989 TRUST: LANCE J. ROBBINS ;
GERALD W. IVORY; ANGELA JORDAN )
VERDUN; PACIFIC VILLAS )
HOMEOWNERS’ ASSOCIATION: TRUCK )

)
)

)

)

}

)

)

)

)

HOME SAVINGS TERMITE CONTROL, )
}

)

ALBERT J. )

)

)

)

)

)

}

12th Flooz

THE STATE

FOR THE COUNTY OF LOS ANGELES
VIA r
APY

5/01/01 Page 12 of 58

ORIGINAL FILED

OF CALIFORNIA

SANE |
TRAE

/
CASE NO: BC 173952

Honorable Dzintra Janavs, suase |
Department 15
CROSS- COMPLAINT OF PACIFIC |
VILLAS HOMEOWNERS ’ ASSOCIATION
FOR:

1. EQUITABLE INDEMNITY;

Be COMPARATIVE INDEMNITY ;

5. TOTAL INDEMNITY;

4. DECLARATORY RELIEF;

5. STRICT LIABILITY

6. IMPLIED WARRANTY OF FITNESS;
7. NEGLIGENCE;
g. NUISANCE; AND

9. BREACH OF CONTRACT

TRIAL DATE: NONE
earee7™ 4

Cross* Complainent,

)
)
}
)
)
)
PAROL D. KAY,
)
)
Vv. )
}
ROME SAVINGS TERMITE CONTROL, }
Inc., W-R- GRACE & CO.3 GRACE
DAVISON: PACIFIC VILLAS -
HOMEOWNERS ' ASSOCIATION; BLICE
SMOLKER ; AND ROES 1~50,
16 Inclusivé,

17 cross -Defendants -

ASSOCIATION,
cross-complainant,
vs

HOME SAVINGS TERMITE CONTROL,
22 \| INC., WF. MORRIS; RIKK

_ | THOMPSON; and DOES 1 through -
23100, inclusive,

}
)

)

)

)

)

)

)

ig PACIFIC VILLAS HOMEOWNERS’ “ )
)

)

)

)

)

)

)

}

24 cross-Defendants.

AND ALL OTHER RELATED CROSS-
26} ACTIONS.

"KNOX ser G9S8:01-01139-AIMC“BYENE1-1 Filed 05/01/01 Page 13
a

ge 13 of 58
.24357.5

. KNOX SetHdeF61-01139-ANC (Loti vows

Doc 161-1 Filed 05/01/01 Page 14 of 58

cross-complainant, PACIFIC VILuaS SOMBOWNERS’ ASSOCIATICN,

~djetend and ch of
for causes of action against =ne cross defendants, ana © n of

thet, alleges 4s follows:
FIRS= CuvSc or BCTION

aes cross-complainant, PACIFIC VILLAS HOMEOWNERS" -

ASSOCIATION, (hereinafter referred to 45 PACLTIC VILLAS), was at

in the state of California. PACTFiC VILLAS Was and is an

=

gd in California ==="

asseciation 4s define ornia Civil Code, section 135: (a),

established <0 manage & certain condominium project as defired in

California civil code. section 1351(f). As such PACIFIC VILLAS
prings this action not only on its individual capacity, but also
pursuant to California Code_of Civil Procedure, section 3&3 45
the real party in interest, without joining with its members, in
macters pertaining to enforcement of the governing documents, Or
damage to the common areas, for damage to the separate interests
wnich OACIFIC VILLAS is obligated to maintain Or repair, and -£0r
damages to the separate interests which arise out of, or are

integrally related tc, damages to =he common areas of separate

20 |) interests thac PACIFIC VILLAS is obligated to maintain or repair

ZL 2. The names and capacities of cross-defendants, DOES 1:
32|| chrough 100, inclusive, 4r¢ unknown at this time, and cross~
33 || complainant thereftoze sues said cross-detendants by such

24 | fictitious names. Cross-complainant will ask leave of the Cour

25\)to amend its cross-complaint to show the true names and

26 || capacities of said cross-defendants when the same have been

27|| ascertained.

————————

ail times mentioned herein: Located in the County of Los AngeLes, |
eit

4 Case. 01-01139- :
Th 4 nox serGA8RO101139-AMC alresse1-1 Filed osi1/01 “Pagé 15 of 58

3 cross-complainant is informed énd believes, ang upon

.

such information ana belief, alleges that each cf said cross”

defenaants designated herein 45 = DOE was in some manner
neghigently oF actively responsible for the Loss and camages
sustained by the cross-complainant nerein as nereafter provided,
and each of tne cross-defendants were, and were at ali times,
mentioned in plaintiff’ s complaint che agents, servant and
employee of tne remaining aross-defendants, herein, and was a>
all times mentioned in plaintiff's complaint, acting within the
course and scope of said agency, service and employment.

4.  Cross-defendants, HOME SAVINGS TERMITE CONTROL, ¥-

ir]

MORRIS and RIKK THOMPSON and DOES 1 through 100, inclusive, wer?
corporations, pusinessesr partnerships, associations oF
individuals dozng business or residing within the state of
Californie.

oie The rross-complaint of GARY and BLICE SMOLKER iF tne
17|| underlying action aileges damages against this cross-complainant
iajias alleged therein. The SMOLKERS’” cross-complaint is referred to
19} and incorporated herein by reference 2S though set forth at

20} length at this place for reference purposes only.

ah. 6. Cross-complainant has answered the cross-complaint if -
o2\\the underly2ng action and has denied, and continues to deny the
23 allegations contained cherein.

24 7s Cross-complainant, PACIFIC VILLAS, is informed and

25 || believes, ana thereon alleges that cross-defencants, HOME SAVING:

26 || TERMITE CONTROL, W.F- MORRIS and RIKK THOMPSON and DOES 1 throug
274 100, inclusive, equally °F partially caused or contributed to th

28

—+
TAA? *

-_ “KNOY SerGA8S O1-O1139-AMCLADBHIEL-1 Filed o5/0t/01 Page iéof58

16 of 58

ynjuries or damages t®° whe SMOLEERS - That, pased spor. ehe

conduct DY the cross-defendan-S, and each of them, are theredy

SAVINGS TERMITE CONTROL, W.F, MORRIS and RIKK THOMPSON .and DOES
ehrough 100, inclusiv®. nave refused, and continue to FefUse,

such indemnity:

oO

B, Té it ke found that cross-complainant was negligent

preached any duty of the SMOLKERS wnich cross~complainant nas

10) its negligence OF other duty, if anys was vicarious, passive and

/
11) secondary, and that the negligence of other preach of duty or

12) responsibility of cross-defenaants, ana each of them, for the
13 || tncident alleged in plainti=='s complaint, was active, primary

14) ane affirmative: by reason of the foregoing, cross-complainant

obligated %° indemnify cross~complainans. cress-defendants, HOME

4

denied and continues +o deny, tnen cross-complainent alleges that

15 || herein will be thereby entitled %° indemnification by the cross~

16 || defendants. and each of them, for any and ali amounts which may
17 || in good faith be paid by way of compromise, settlement or

18 1) judgment, and further will be entitied to cests and expenses in
19 || connection therewithi this eross-complainant has not yet
20 ascertained the full amount of said damages, and will ask leave

oil\of the Court to amend this plea when the same have been

22 ascertained.

23 SECOND CAUSE OF ACTION

25 AND RIKK THOMPSON AND DOES 1 THROUGH 100, INCLUSIVE)

26 9. Cross-complainant refers to paragraphs one through

a7eight of the First Cause of Action, and py this reference,

24\ (AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL, WF. MORRIE

27

28

|

|

Case 01-01139-
KNOX Services 9-AMC >; Peg;k81-1 Filed 05/01l01 Page 47 bt5g 748

incorporates the same nerein with tne same Force and effect 4s
chougn futly set forth in this place-

10. That cross-complainant is noe singulariy, uniaguely, ¢2
totally Liable for any camages incurred by the SMOLKERS in the
aforesaid snoident. Ther Lo cross-complainant is neld Liable in
the underlying Litigation, which liability is specizically
denied, cross-complainant 4s either not responsibis in any

fasnion, OF is only partially responsible for <he alleged

injuries and damages suffered OF sustained by the SMOLKERS. Theat |

the distribution of pesponsibilisy should be apportioned among
che cross-compleinant and cross-defendants, and each of them, on

the basis of EnELY proportionate snare-

11. An actual controversy has arisen and now exists between

che crass-complainant and cross-defendants, and each of them,
regarding the rights, duties and Liabilities of each party with
reyard to the alleged incident giving rise to this lawsuit.
cross-complainant contends that if, despite its denial of ne
allegations of the SMOLKERS’ ‘ cross-complaint herein, the SMOLKERS
should nevertneless recover judgment against this suoeee
complainant, judgment will be based upon the findings of
wrongdoing as hereinabove set forth on the part of the cross-
defendants, and each of them, and cross-complainant should be
antitled to indemnification in an amount proportionate to the
comparative responsib-lity and degree of fault on each of said
cross-daefendants.

f/f

///

|

|
Case 01-01139-A

” KNOX Services MC.7;20m164-1 Filed 05/0101 Page #86758 °: +!

(AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL, Wer. MORRIS

AND RIKK THOMPSON AND DOES 1 THROUGH 100, THCLUSIVE)

S Ves Cresg-complainant refers to paragraphs one through |
eiant of -ne First Cause of Action, and by this reference,
incorporates the same herein with the same force and effect as |
though fuily set forth in this place. ,
13. Cross-complainant, py law and equity should be entitled

gfto total indemnification against cross-defendants for any

/ 10 || judgment adverse to this cross-complainant.
11 FOURTH CAUSE OF ACTION
32 || (AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL, W.®. MORRIS
Ls AND RIKK THOMPSON AND DOES 2 THROUGH 100, INCLUSIVE}
14 | 14. Cross-complainant refers to paragrapns one through
15) eight of tne first cause of action, and by this reference,
16 | incorporates the same herein with the same force and effect as _
17|\ though fully set forth in this place.

18 15. Cross-complainant may have to bear a toss which, in

19l\ equity and good conscience, they should not be faced with by

20 4 virtuc of the cenduct of the cross-defendants, and each of them,
s1 iz the allegations of the SMOLKERS’ complaint and the allegation:
22) ot cross-complainant’ 5 cross-complaint for indemnity are found t

23 |) pe true.

24 16. A dispute has arisen and 4n actual controversy exists

+5\\ between the cross-complainant herein and the cross-defendants,
26 || and each of then, concerning theiz respective rignts, duties an

371| obligations of the cross-defendants, and each of them, to whoil

=4987.1

_ KNOX Ser CASS 01-01139-AMG 1 447006861-1 Filed 05/01/01 “Page 190f58

Ox partially indemnity ©

judgment rendered
each of them, to this cross-complainant.

ana each of them, iS determined to have been &@ proximate causé Of
the injuries and damages alleged DY che SMOLKERS . if any exec,
then this cross-cotipLainant is entitied to 4 declaration that Lt
be indemnified by gross" -defendants, and each of them, in an

amount equal to chat amount ot which their conduct of fauit

Case

voss-compieine ant for any verd.ct Or

against them. This cross-complainant requests

ss a
a» declaration of rights and duties of the cross-defendants, a4

17. Insofar @s che conduct of tne cross— _defendancs herein,

contrjputed co plaincizfs’ injuries oF damages, if any, and in an
amount which is proportionate to each of the cross-defendants
respective allocable fault.

(AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL,
WF. .MORRIS AND RIKK THOMPSON AND DOES 1 THROUGH 100, INCLUSIVE;

18. Cross-complainant refers 9 paragraphs one through
seventeen, and by this reference, incorporates che same herein
with the same fozce and effect as though fully set forth in this
place.

19. Cross-comolainant is informed and believes and besed ~
thereon alleges thet cross-defendants, and each of them, are and
at all times mentioned herein engaged in the business as &
licensed contractor licensed @S 4 pest control operator in and
for the State of California.

20. cross-complainant ts informed and believes and pased

thereon alleges tnat in or about October 1996 cross” _aetendents,
KNOX sei GA82,01-01139-ADMC 4GG€E1-1 Filed 05/01/01 Page 20 of 58

and each of them agreed to sell, app+y: and install pesticides
and/or pest eoncrel systems upon cne residential units and connor |
areas of Pacific Villas and in fact soid, implied and -nstalled |
gaid pesticides and/or pest contrcl systems, for which crass”
complainant paid cross-dezendants che approximate sum of $7,952.
2s cross-compiainant is informed and believes and pased
thereon alleges that che pesticides and/or pest control system
and/or the application and instellation of the pesticides and/or
pest control system by cross-defendants, and each of them, were
| defective.

. . ‘ ‘ 4 i { . t q
1i Zee Cross-complainant is informed ana believes anc based

:

12 | <hereon alleges that as © proximate and direct result of the

13 || Gefects in the pesticides and/or pest control system, and/or tne

14 | application oF installation chereoft, cross-complainants will be
15 || reauired to incur expenses eo evaluate, correct, repair, replace |
16 || ana reconstruct defective and injured improvements in and about
17|\ the common areées, together with a Loss of usé thereof, to its.

18 || damage in the sum to be gtated according to proof.

19 23. Cross-complainant 33 informed and believés and based

20 || thareon alleges chat as a further proximate and direct result of
ei the defects and injuries 45 aforesaid, the property values as

22 || Pacific Villas have diminisned and that a stigma has attached

23 || said to property, all to the detriment of cross-complainants in

24 || an amount accerding to proof.

25| ///
264 ///
ati sty
28

194957.1 9
“ emeeetd 7

" ¥NOX Servite

Case Q1

(AS TC CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL,
oF. MORRIS AND RIKK THOMPSON AND DCES * THROUGH 100, INCLUSIV=)

24. Cress-complainant reters to caragraphs one througn
with tne same force and effect as though fully set forth in this

ol. Cross-complainant ig informed and believes and based
thereon alleges ehat at all relevant times cross-defendants, and
10) each of them, knew OF should have known that sross-complainant
11 || would rely upon aross-defendants ana each of ther and upon sheiz
12 || skill and judgment in the selection, application and instellation |
iz\|of pesticides and/or pest control systems and to provide
14 || components and materials fit for their particular Purpose without
15) injuring the property and/or residence of Pacific Villas, and
16 {| cross-complainant dig so rely upor cross-defendants skill and
17) judgment -

18 26, Cross-defendant and’ each of them, impliedly warranted

19 |} that the pesticides and/or pest control system would be fit for

2a) che purposes for which they are normally and reasonably used, an
21 |) without creating an unreasonable risk of harm to cross-
22 || complainant and/or its members-

23 27. Cross-compiainant is infoxmed and believes and based

24 thereon alleges that the pesticides and/or pest control system

os) solid, applied and installed by cross-defendants, and each. of
24 \}them, are, and at all relevant times nave been, materially
27\| defective aforesaid.

28

place. _&

O1139-AMG.7Romi6le1 Filed 05/01 Pie tfese

cwenty-tnres, and by this reference, incorporates the same herein |.

Case 01-01139-

“KNOX Services -AMC>,Ro6;k61-1 Filed 05/04/01 ‘Page 2 uise °:**

27

28

23. Cross-complainant 4s informed and believes and pased
upon thereon alleges that as 4 proximate and direct result of |
such breach of the implied warranty of fitness for the particuiar
purpose fOr which said pesticides and/or pesticide control
systems is normally ana reasonably used, cross-complainant has
sustained and will sustain damages as alleged in peragraphs 22

and 23 above.

SEVENTH CAUSE OF ACTION

(AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL,
w.F. MORRIS AND A°KK THOMPSON BAND DOES i THROUGH 100, INCLUSIV=)
29, Cross-comMm: lainant refers to paragraphs one through

ewenty-eight, and by this reference, incorporates the same herein

‘with the seme force and effect as though fylly set forth in this

30. Cross-compleinent is informed and believes and based
“hereon alleges that all relevant times cross-defendants and each.)
of them, were under 4 duty to exercise reasonable care in the
selecting, selling, applying and installation of the pesticide
and/or pest control systems, inclucing the duty to comply with
applicable State and Federal Regulations ragarding pesticide/pest
control system selection, application and installation, and the
duty to provide all labor and materials in a good and workman
like manner.

31. Crogs-complainant is informed and pelieves and pased
thereon alleges that cross-defendants, and each of them, breache
their respective duties of care te cross-complainant by

negligently and carelessly failing to use reasonable care in the ©
snaae™ ft

KNOX

ZT

28

ase

case.01-01139-AMG,: Dowdstil Filed 05/0901 Page 2oF8 +

selection, application and installation of the pesticides/pes= 1
control system at Pacific Villa, and by negligent-+y and
carelessly failing t¢ comply with applicable state and federal
regulations and relevant customs and practices velating ana
pertaining to the sale, application and installation of
pesticides and/or pest control systems.

B32 Cross-complainant is informed and believes and pasead 7°!

thereon alleges that the negligence of cross-defendants and each

wave

of them actually and proximately caused the defects, deficiencies
and injuries in and about the common areas of Pacific Villas, as
alleged herein above.

33, Cross-complainant is informed and believes and based
thereon alleges that as 4 direct and proximate result of the
negligence of tne cross-defendants, and each of them, cross-
complainant has sustained and will sustain damages as alleged if
paragraphs <2 and 23 above.

EIGHTH CAUSE OF ACTION

(AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL,

W.F. MORRIS AND RIKK THOMPSON AND DOES 1 THROUGH 100, INCLUSIVE)
a4. Cross-complainant refers to paragraphs one through
three-three, and by this reference, incorporetes the same herein
with the same force and effect as though fully set forth in this

place.
35, Cross-complainant ig informed and believes and based
thereon alleges that each o= the cross-defendants knew, or the

exercise of reasonable diligence should have known that defects

in the selection, sale, application and installation of

204957.4.

27

28

+ Kyox GA9REF-01139-AME:7DaemEst1 Filed o5/0i#d1 Pa§e 2458 "~~

pesticides and/or pest control system, 5 aforesaid, has caused

and will continue to cause, damage and injury to cross™

complainant.
36. Cross-complainant ig iaformed and nelieves-and based
thereon alleges that the failures, deficiencies and defects

herein allegec, constitute a nuisance within the meaning of

section 3479 cf California Civil Code, in that the property .
values of Pacific Villas have diminished, stigma to the property
has attached, and that said nuisance creates and obstruction to
the free use or the DILOperty and interferes with cross—
complainant’ s confortable enjoyment and use of its seaeeer

37. Cross-complainant is informed and believes anc based
thereon alleges that the cross-defendants, and each of them, by
-heir conduct and/or failure to act, created, maintained and/or
concealed 2 nuisance and have not saken reasonable Steps to abate
said nuisance, or tO mitigate the potentiai future damage caused
by said nuisance, although requested to do so. -

38. Cross-complainant ts informed and believes and based
thereon alleges that a5 a proximate and direct result of the
nuisance caused by defendants as herein alleged, cross-
complainant has sustained, and will continue to sustain, damages”

as alleged in paragraphs 22 and 23 above.

NINTH CAUSE OF ACTION

(AS TO CROSS-DEFENDANTS HOME SAVINGS TERMITE CONTROL,
W.F. MORRIS AND RIKK THOMPSON AND DOES 1 THROUGH 100, INCLUSIVE
39, Cross-complainant refers to paragraphs cne through

thirty-eight, and by this reference, incorporates the same here:

1640989.5°

_¢ 01-01139 145h> .
KNOX Ser S1B8E AMG: qq0016461-1 Filed 0541/01 “Page“25°of 58 °**"

with the same force and effect as thougn fally set forts in
place.

40. Cross-complainant ss informed and believes and baséa
~hereon alieges that except as excusec y the wrongfur senduct af
cross-defendant and each of the, cross-complainant has performed

ali conditions and covenants required to be performed on its

part.

41. Cross-complainant is informed and believes and based
thereon alleges that within two years of the filing of this
action, =ross-defendants and each of them, breached their
agreemens by failing to property and/or adequately select, seli,
apply and instaii the pesticides and/or pest control system ax
Pacific Villas.

42. Cross-compiainant is informed and believes and based
thereon alleges that as 4 direct and proximate vesuit of the.
preach by cross-defendants and each of them, cross~complainant
has sustained and will sustain damages «5 si leged in sacageapls

22 and 23 above. .

WHEREFORE, erass-complainant prays for judgment against the
cross-defendants, and each of them, as follows:

ON CAUSES OF ACTION ONE THROUGH FOUR, INCLUSIVE

a

1. Tf it be found that cross-complainant is liable for any

judgment in favor of the plaintiff herein, that total judgment in
the same amount be rendered in favor of the cross-complainant

against the cross-defendants;

14

KNOX S€aS01-01139-ANG: CISL Filed o5/otib1 Page Z6ofss ‘**

: 1 Ds For an order that tne cross-defendents. have @ duty to
2 indemnify =he cross-complainant;
3 a That if cross~complainant is held liable to the
4|| plaintizi, then judgment be rendered against cross-defenaants,

si}and each of then, determining the respective responsibilizty af

¢ | the cross-defendants, and each of them, for the incident;

7 4. That judgment be entered indemnifying cross-complainant
gi for the percentage of plaintifi’s judgment which is proportionate
9 || and allocable to the comparative responsibility of the cross-

10 || defendants, and each of them;

f
11 Je For interests provide by law;
12 e. For damages according tc proof;
as 7. For costs of suit incurred herein; and
14 B. For such other and further relief as the Court deems

15 ]| just and proper.

16 ON CAUSES OF ACTION FIVE THROUGH NINE, INCLUSIVE
17 g. For general and compensatory damages according to the

- 18 || proof at the time of trial and in an amount in excess of the

19 || minimum jurisdiction of this court;

20 10. For interest provided by law:

al ll. For cost of suit incurred herein; and, :
24 17 |
23 ///

2a} ///

25\\ ///

26} ///

27 ///

28

204957.2- a 15

104957.2

KNOX

oe

28

CaselOd-01139-AMEX: 7DUEUSE11 Filed 05/01/01 Page 27oras °°
|

1Z. For such other and further reliei a

uO
ct
_
>
oO
Cc
Yt
ol
oO
(Dp
o

ri
in

just and proper.

DATED: June 30, 1998 HOLLINS, SCHECHTER & FEINSTEIN

i, a Coble

THOMAS M. CONDAS

Attorneys for Cross-
Defendant and Cross-
Complainant, PACIFIC VILLAS
HOMEOWNERS’ ASSOCIATION

_ KNOX SerGase 01-01139-AMC1449606861-1 Filed 05/04/01 ‘Bage 28 of 58 P- 2°

1 PROOF OF SERVICE
(1013a(3) Code Civ. Proc. Revised 5/1/88}
2
STATE OF CALIFORNIA, COUNTY OF ORANGE |
3

I am employed in the county of Orange, State of Californi
al|/l am over the age of 18 and not @ party to the within’ action; my -

business address is 505 S. Main Street, 12th Floor, Orange,
5|)\ Ccaliformia 92856. =f

6 On July 2, 1998, 1 served the foregoing document desoeribed

as CROSS-COMPLAINT OF PACIFIC VILLAS HOMEOWNERS’ ASSOCIATION FOR: |

7] EQUITABLE INDEMNITY; COMPARRTIVE INDEMNITY; TOTAL INDEMNITY;

DECLARATORY RELIEF; STRICT LIABILITY; IMPLIED WARRANTY OF

& || FITNESS; NEGLIGENCE; NUISANCE; AND, BREACH OF CONTRACT on the
interested parties in this action,

3 .
{X) by placing true copies thereof enclosed in sealed envelopes
101 addressed as stated on the attached mailing list: /
iii} () by placing ( ) the original ( ) a true copy thereof enclosed
in sealed envelopes addressed as follows:
12
13||( ) by personal delivery to:

141) (X) by mail as follews: J am “readily familiar” with the firm’s
practice of collecting and processing correspondence for mailing.
15 || Under that practice, it would be deposiced with the U.S. postai
service on that same day with postage thereon fully prepaid at

ié|| orange, California in the ordinary course of business. I am —
aware that on motion of the party served, service is presumed

17 || invalid if postal cancellation date or postage meter date is more
than one day after date of deposit for mailing in affidavit.

(x) (STATE) I declare under penalty of perjury under the Laws
19] of the State of California that the above is true and correct.

Fxecuted on July 2.1298, at Orange, California.

.
. x”

23 en Se
GABRIELLE

oe

a fal
bp ov SA SM

1 u!
RUSSELL

27

26

KNOX SOase €:1-01139-AIKG 71962916411 Filed 05/01/01 Pate 29Hf188

1] Case Name:

P, 28

TIG INSURANCE V. SMOLKER

Case No.: BC 173952

2] Our File No.: FCLD 8257

3

4 MAILING LIST

5 || tarry M. Arnold, Esq. Attorneys for TIG INSURANCE
Cummins & White, LLP COMPANY

6] 2424 S.E. Bristol, #300
Newport Beach, CA 92660-0757
7 (714) 852-1800

(714) 852-8510 Fax

9] Law Offices of Smolker & Graham
4720 Lincoln Blvd., Suite 280
Marina Del Rey, CA 90292-69777
(310) 574-9889

(310) 574-9883 Fax

Jeffrey A. Charlston, Esc.
Charlston, Révich & Williams LL®
1840 Century Park East, 3rd Floor
Los Angeles, CA 90067-2104

(310) $51-7000

{310} 203-9321 Fax

Alan Zuckerman, Esq.
Hagenbaugh & Murphy

700 North Central Ave.,
Glendale, CA 91203-1240
(818) 240-2600

(818) 240-1253 Fax

#500 —

Joh F. Walter, Esa.

Walter, Finestone & Richter
11501 Wilshire Blvd., #1900
Los Angeles, CA 90025

Jeffrey Horowitz, Esq.

Dubois, Billig, Loughlin, Contay
& Weisman

6404 Wilshire Blvd., Suite 850

Loe Angeles, CA 90046-5510

{223) 653-2518

(213) 6523-0669 Fax

27

28

Attorneys

for GARY SMOLKER
and ALICE

SMOLKBR

Attorneys for DENNIS A.
BABBITS; COREGIS INSURANCE
COMPANY; DEAN & ASSOCIATES;
and CALIFORNIA INSURANCE
COMPANY

Attorneys for DR. JOSEPH
FEDORUR

Attorneys

Attorneys
INSURANCE

for FRONTIER PACIFIC
COMPANY

for JOSBPH A. BATLEY

- KNOX

- (310)

Michael T. Lucey,
Gordon & Rees, LLP
Embarcadero Center West

275 Battery Street, 20th Floor
San Francisco, CA $4111

{415} 986-5900

{415} 986-8054 Fax

Esq.

Gary E. Yardumian, Esq.
Prindle, Decker & Amaro

310 Golden Shore, Fourth Floor
Long Beach, CA 90802-4246
(S62) 436-3946

(562) 485-0564

Cecille L. Hester, Esq.

Fonda & Hilberman, Llp

1925 Century Park East, #2250
Los Angeles, CA 90067-2723
(310) &52-3320

(3210) 553-4232 Fax

David L. Hughes, Esq.

FRooth, Mitchel & Strange, LLP
P.O. Box 5046

Costa Mesa, CA 92628-5046
(714) 641-0217

(714) 957-0411 Fax

Roberc N. Ridenour, Es¢.
Borton, Petrini & Conron

707 Wilshire Blvd., 51st Floor
Los Angeles, CA 90017-3613
(213) 624-2869

Michael 3, Geibel, Esa.
Gibbs, Giden, Locher & Turner

2029 Century Park East, 34th Floor

Los Angeles, CA 90067-3039
552-3400
{310} 552-0805 Fax

Matthew John Fredricks
15 63rd Avenus, #6

Playa del Rey, CA 90293

SdGaseeO1-01139-AMC 719G81f61-1 Filed 05/04/01 Plage'Sdléf58 P. 29

Attorneys for:-TRUCK INSURANCE
EXCHANGE

Rttorneys for HOME SAVINGS
TERMITE CONTROL, INC.

Attorneys for CAROL D. KAY
TRUSTEE OF CAROL D. KAY 1985
TRUST

Attorneys for RELIANCE
INSURANCE COMPANY

Attorneys for W.R. GRACE &
COMPANY and GRACE DAVIDSON

Attorneys for JAMES & JULIA
HOLLAND

In Pro Per

!
j

sess ;
. .  KNOXCSare’02E901139-AMERX ‘DEH IBESt Filed 05/01/84! Pagk®31 of 38 P. 30

- . |

al

| Gerald W. Ivory
15 63rd Avenue, #5
2|| Playa del Rey, CA 90293

3}} Lance J. Robbins
15 63rd Avenue, #2
4} Playa del Rey, CA 90293

Angela Jordan Verdun
6|}15 63rd Avenue, Unit #5
Playa del Rey, CA 30293

8 || Laura N. MacPherson
2424 S.E. Bristol St., Suite 300
9} Newport Beach, CA $2660

Virginia K. Cipriano

11], 3033 Sherbrook Street., West
Apt. 306 Montreal

12] Montreal Quebec, Canada E32 1A3

William —. Davis III, Esq.
14} 1925 Century Park East, Suite 500
Los Angeles, CA 90067-2700

16{ Sally L. Schubert, Esq.

Dean & Associates

17] 225 S. Laké Avenue, Suite 2250 |
Pasadena, CA $1101

19] William D. Beck, Esq.
Johngon & Beck

20]/ 1660 N. Vine Street, Suite 100 [
Hollywood, CA 90028

27

_ 28
Case 01-01139-AMC Doc 161-1 Filed 05/01/01 Page 32 of 58
ae .* Case 01-01139-AMC Doc 161-1 Filed 05/01/01 Page 33 of 58

-! 982(a)(15.4)
| ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and address): : FOR COURT USE ONLY
GARY E. YARDUMIAN, ESQ. (State Bar No. 131411)
t- PRINDLE, DECKER & AMARO
310 Golden Shore, 4th Floor
Long Beach, CA 90801

TELEPHONENO.: (562) 436-3946 raxno.: (562) 495-0564
ATTORNEY FOR (Neme) Cross-Defendants
NAME OF COURT. Superior Court of the State of California
street ADDRESS: County of Los Angeles
malinGADORESS: 111 N. Hill Street
|  crrvanpzpcove: LOS Angeles, CA 90012
BRANCH NAME: CENTRAL BRANCH
PLAINTIFF/ PETITIONER: TIG INSURANCE COMPANY

DEFENDANT/ RESPONDENT: GARY SMOLKER, ET AL. |

DEPOSITION SUBPOENA CASE NUMBER |
| For Personal Appearance and Production of Documents and Things BC L73952 |

THE PEOPLE OF THE STATE OF CALIFORNIA, TO (name, address, and telephone number of deponent, if known):
PERSON MOST KNOWLEDGEABLE FOR GRACE DAVIDSON
LOCATED AT 101 E. LINCOLN AVENUE, #240, ANAHEIM, CA (800) 874-0686

+1. YOU ARE ORDERED TO APPEAR IN PERSON TO TESTIFY AS A WITNESS in this action at the following date, time,
and place:

Date: MAY 8, 2001 Time: 1:30 P.M Address:310 GOLDEN SHORE, 4TH FLOOR |
| LONG BEACH, CALIFORNIA 90801 4
a. As a deponent who is not a natural person, you are ordered to designate one or more persons to testify on your behalf as

to the matters described in item 4. (Code Civ. Proc., § 2025, subd. (d)(6).)
b. You are ordered to produce the documents and things described in item 3.

c. X_ This deposition will be recorded stenographically through the instant visual display of testimony,
and by audiotape videotape.
d. This videotape deposition is intended for possible use at trial under Code of Civil Procedure section 2025(u)(4).

2. The personal attendance of the custodian or other qualified witness and the production of the original records are required by this
subpoena. The procedure authorized by Evidence Code sections 1560(b), 1561, and 1562 will not be deemed sufficient compliance
with this subpoena.

3. The documents and things to be produced and any testing or sampling being sought are described as follows: SEE
EXHIBIT "A" ATTACHED TO THIS SUBPOENA AND THE NOTICE OF TAKING DEPOSITION

Continued on Attachment 3.

4. If the witness is a representative of a business or other entity, the matters upon which the witness is to be examined are described
as follows:

Continued on Attachment 4.

5. IF YOUHAVE BEEN SERVED WITH THIS SUBPOENA AS A CUSTODIAN OF CONSUMER OR EMPLOYEE RECORDS UNDER
CODE OF CIVIL PROCEDURE SECTION 1985.3 OR 1985.6 AND A MOTION TO QUASH OR AN OBJECTION HAS BEEN
SERVED ON YOU, A COURT ORDER OR AGREEMENT OF THE PARTIES, WITNESSES, AND CONSUMER OR EMPLOYEE
AFFECTED MUST BE OBTAINED BEFORE YOU ARE REQUIRED TO PRODUCE CONSUMER OR EMPLOYEE RECORDS.

8. Atthe deposition, you will be asked questions under oath. Questions and answers are recorded stenographically at the deposition:
later they are transcribed for possible use at trial. You may read the written record and change any incorrect answers before you
sign the deposition. You are entitled to receive witness fees and mileage actually traveled both ways. The money must be paid, at
the option of the party giving notice of the deposition, either with service of this subpoena or at the time of the deposition.

DISOBEDIENCE OF THIS SUBPOENA MAY BE PUNISHED AS CONTEMPT BY THIS COURT. YOU WILL ALSO BE LIABLE |

FOR THE SUM OF FIVE HUNDRED DOLLARS AND ALL DAMAGES RESULTING FROM YOUR FAILURE TO OBEY.

Date issued: APRIL 20, 2001. Te, ce
GARY E, YARDUMIAN, ESQ. . (State Bar, No. > (—_
(TYPE OR PRINT NAME) @SIGNATYRWOF PERSON ISSUING SUBPOENA)
ATT EY FOR CROSS-DEFENDANTS

(TITLE)

(Proof of service on reverse)

Form Adopted for Mandatory Use DEPOSITION SUBPOENA FOR PPRSONAL APPEARANCE 2 Code of Civil Procecure

Judicial Council of California

<93\ai15 4) [New January 1 2000] AND PRODUCTION OF DOCUMENTS AND THINGS =” Government Cave § 8805"

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 34 of 58

EXHIBIT “A”
1. Any and all sails, supply, marketing and advertising documents from Grace Davidson for
“Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.
2. Any and all documents submitted to the Agricultural Commission referencing “Dri-Die,”

“Drione,” “Dri-Out,” and Syioid 244 from 1990 to present.

3. Any and all invoices, bills and or statements foe the purchase, sale, distribution of “Dri-Die,”
“Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.

4, Any and all animal studies, health risk assessments, toxicological data and\or studies
mentioning, referencing or referring to “Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

5. Any and all pesticide labels, MSDS and\or instruction materials efeenciing, mentioning
“Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

6. Any and all research development, toxicology data on “Dri-Die,” “Drione,” “Dri-Out,” and

Syloid 244.

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 35 of 58

GARY E. YARDUMIAN, ESQ. (State Bar No. 131411)
LAW OFFICES OF PRINDLE, DECKER & AMARO, LLP
P.O. BOX 22711

310 GOLDEN SHORE, 4TH FLOOR

LONG BEACH, CA 90801-5511

TELEPHONE: (562) 436-3946
FAX NO. (562) 495-0564 .

Attorneys for Cross-Defendants, HOME SAVING TERMITE CONTROL, INC.,W.F. MORRIS and °
RIKK THOMPSON /

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

TIG INSURANCE COMPANY, a California CASE.NO.; BC 173952

)
Corporation, )
) Assigned for all purposes to Judge Fruin,
Plaintiff, ) Department 15
)
Vs. ) NOTICE OF TAKING DEPOSITION AND
’) REQUEST FOR PRODUCTION OF
GARY SMOLKER, an individual, and ALICE) DOCUMENTS OF THE PERSON MOST
SMOLKER, an individual, and DOES 1-10, ) KNOWLEDGEABLE FOR GRACE
inclusive, DAVIDSON
Defendants. ) Date: May 8, 2001
) Time: 1:00 p.m.
) Place: PRINDLE, DECKER & AMARO
) 310 Golden Shore, 4" Floor
) Long Beach, CA 90801

AND ALL RELATED CROSS-ACTIONS.

TO ALL PARTIES AND TO THEIR RESPECTIVE ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on May 8, 2001, at 1:00 p.m., at the Law Offices of Prindle, Decker
& Amaro, located at 310 Golden Shore, 4th Floor, Long Beach, California, Defendant, Cross-Defendants.
HOME SAVING TERMITE CONTROL, INC.,W.F. MORRIS and RIKK THOMPSON, will take the
deposition of the third party witness who is the "PERSON MOST KNOWLEDGEABLE" for GRACE
DAVIDSON.

The person or persons designated for the deposition by GRACE DAVIDSON should be the

person(s) most knowledgeable concerning the following:
]

NOTICE OF TAKING DEPOSITION AND REQUEST FOR PRODUCTION OF
DOCUMENTS OF THE PERSON MOST KNOWLEDGEABLE FOR GRACE DAVIDSON:

ht

lo

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 36 of 58

1. Regarding sales, supplies, marketing and advertising for Grace Davidson for “Dri-Die,” “Drione.”

“Dri-Out,” and Syloid 244.

2. Regarding documents submitted to the Agricultural Commission referencing “Dri-Die,” “Drione.”

“Dri-Out,” and Syloid 244.

3. Regarding invoices, bills, and\or purchases, sales, distributions of “Dri-Die,” “Drione,” “Dri-Out.”
and Syloid 244. .
4, Regarding animal studies, health risk assessments, toxicological data, studies referencing or

referring to “Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

Bi Regarding pesticide labels, MSDs and\or instruction materials referencing or mentioning “Dri-Die,”
“Drione,” “Dri-Out,” and Syloid 244.

6. , Regarding research developments and\or toxicology data on “Dri- Die,” “Drione,” “Dri-Out,” and
Syloid 244.

This deposition will be taken before a Notary Public in and for the State of California, or other such
officer authorized to administer oats who may bé present at. said time and place. Said deposition will
continue from day to day, excluding Sundays and holidays, until completed.

PLEASE TAKE FURTHER NOTICE that deponent is requested to produce at said time and

place of his\her respective deposition, the following documents, papers, and things for copying and

examination, pursuant to Code of Civil Procedure § 2025(h)(1). The above-mentioned documents are
listed in the attached Exhibit “A.”
DATED: April 20, 2001 PRINDLE, DECKER & AMARO

¥ 5 YARDUMIAN
heme For Crbss-Defendant, HOME SAVING
TERMIT CONTROL, INC., W.F. MORRIS and
RIKK THOMPSON

2

NOTICE OF TAKING DEPOSITION AND REQUEST FOR PRODUCTION OF
DOCUMENTS OF THE PERSON MOST KNOWLEDGEABLE FOR GRACE DAVIDSON

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 37 of 58

EXHIBIT “A”
l. Any and all sales, supply, marketing and advertising documents from Grace Davidson for
“Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.
2. Any and all documents submitted to the Agricultural Commission referencing “Dri-Die,”
“Drione,” “Dri-Out,” and Syloid 244 for 1990 to present.
3. Any and all invoices, bills and or statements for the purchase, sale, distribution of “Dri-Die,” .
“Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.
4, Any and all animal studies, health risk assessments, toxicological data and\or studies

mentioning, referencing or referring to “Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

5. Any and all pesticide labels, MSDS and\or instruction materials referencing, mentioning
“Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244. /
6. Any and all research development, toxicology data on “Pri-Die,” “Drione,”” “Dri-Out,” and

Syloid 244.

LAW OFFICES OF

PRINDLE, DECKER & AMARO tp

bo

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 38 of 58

PROOF OF SERVICE

STATE OF CALIFORNIA
ss.
COUNTY OF LOS ANGELES . )

1am employed in the County of Los Angeles, State of California. I am over the age of eighteen
(18) and am not a party to the within action; my business address is 310 Golden Shore, 4th Floor, Long
Beach, California 90802. -

On April Q0, 2001, I served the foregoing document described as NOTICE OF TAKING
DEPOSITION AND REQUEST FOR PRODUCTION OF DOCUMENTS OF THE PERSON
MOST KNOWLEDGEABLE FOR GRACE DAVIDSON and DEPOSITION SUBPOENA FOR
PERSONAL APPEARANCE on all interested parties in this action, by placing a true copy thereof
enclosed in a sealed envelope addressed as follows: ,

SEE ATTACHED SERVICE LIST

I am "readily familiar” with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with U.S. postal service on that same day with
postage thereon fully prepaid at Long Beach, California in the ordinary course of business. I am aware
that on motion of party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

xx_ (By Mail) I caused such envelope with postage thereon fully prepaid to be placed in the
United States mail at Long Beach, California.

_____ (By Fax) I caused such document to be faxed at Long Beach, California, from Fax
No.(562) 495-0564 to Fax No. _ directed to fax numbers listed below_. The facsimile machine I used
complied with Rule 2003(3) and no error was reported by the machine. Pursuant to Rule 2005(1), |
caused the machine to print a record of the transmission, a copy of which is attached to this declaration.

(By Personal Service) 1 caused such envelope to be delivered by hand to the
addressee(s). Gary S. Smolker, Esq., LAW OFFICE OF SMOLKER & GRAHAM, 4720 Lincoln Blvd.,
Ste. 280, Marina Del Rey, CA 90292

xx_ (State) I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

___ (Federal) I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made. ,

Executed on April QW. , 2001, at Long Beach, California.
/

M. EstherJuared__)

LAW OFFICES OF
PRINDLE, DieCkKER & AMARO Liv

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 39 of 58

SERVICE LIST

TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

GARY S. SMOLKER

Gary S. Smolker, Esq.

Alice M. Graham, Esq.

LAW OFFICE OF SMOLKER & GRAHAM
4720 Lincoln Blvd., Ste. 280

Marina Del Rey, CA 90292

(310) 574-9880

(310) 574-9883 (fax)

DENNIS _A. BABBITS.COREGIS GROUP.

INC.

COREGIS INS. CO.. DEAN & ASSOCIATES

and CAEIFORNIA INSURANCE COMPANY
Jeffrey A. Charlston, Esq.

Robert D. Hoffman, Esq.

CHARLSTON, REVICH & WILLIAMS LLP
1840 Century Park East, 3" Floor

Los Angeles, CA 90067-2104

(310) 551-7000

(310 203-9321 fax 2

TRUCK INSURANCE EXCHANGE/
UNDERWRITERS ASSOCIATION
FARMERS GROUP. INC.. FARMERS
INSURANCE GROUP OF COMPANIES
Sara M. Thorpe, Esq.

GORDON & REES, LLP
Embarcadero Center West

275 Battery Street, Twentieth Floor
San Francisco, CA 94111

Telephone: (415) 986-5900

Fax No. : (415) 986-8054

JoLynn M. Pollard, Esq.

GORDON & REES, LLP

300 South Grand Avenue, 20" Floor
Los Angeles, CA 90071

Telephone: (213) 576-5000
Fax No. : (213) 680-4470

RELIANCE INSURANCE COMPANY
David L. Hughes, Esq.

Stacie L. Brandt, Esq.

BOOTH, MITCHELL & STRANGE, LLP -
701 South Parker Street, Suite 6500
PO Box 11055

Orange, CA 92856-8155

Telephone : (714) 480-8500

Fax No.: (714) 480-8533

TIG INSURANCE COMPANY
Larry M. Arnold, Esq.

Annabelle M. Harris, Esq.

J. Thomas Gilbert, Esq.

Laura N. MacPherson, Esq.
CUMMINS & WHITE

2424 S.E. Bristol St., Suite 300
Newport Beach, CA 92660-0757
(949) 852-1800

W.R. GRACE & CO.: GRACE DIVISION:
ALBERT COSTELLO and JAMES R. HYDE |
Bryan Porter, Esq.

Rosemarie S. Lewis, Esq.
BORTON, PETRINI & CONRON
707 Wilshire Blvd., Suite 5100
Los Angeles, CA 90017-3613
(213) 624-2869

(213) 489-3930 (fax) .

FRONTIER PACIFIC INSURANCE CO.
Jeffrey Horowitz, Esq.

HOROWITZ, SOLOMON & PARKER
6404 Wilshire Blvd., #850

Los Angeles, CA 90048-5510

(213) 653-2518

(213) 653-0669 fax

Case 01-01139-AMC Doc 161-1 Filed 05/01/01 Page 40 of 58

1 SERVICE LIST
TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
: LASC, Central District, Case No. BC 173 952

4|| ATTORNEYS FOR DEFENDANT/CROSS-
COMPLAINANTS. JAMES HOLLAND and
5 || JULIEHOLLAND

6 || GIBBS, GIDEN, LOCHER & TURNER
2029 Century Park East, 34" Floor

7 || Los Angeles, CA 90067-3039

g || Attention: Michael B. Geibel
Telephone: (310) 552-3400

9 | Fax No.: (310) 552-0805

10
ATTORNEYS FOR CAROL D. KAY, _
11 | TRUSTEE OF THE CAROL D. KAY 1989 /
TRUST
12

FONDA, HILBERMAN & FRASER, L.L.P.
13 1888 Century Park East, Suite 1777
Los Angeles, CA 90067

Attention: Cecille L. Hester, Esq.
15 || Telephone: (310) 553-3320
Fax No.: (310) 553-4232

LAW OFFICES OF
PRINDLE, DECKER & AMARO LLP

COUNSEL FOR PACIFIC VILLAS
17 | HOMEOWNER’S ASSOCIATION

ig | MURAWSKI & GREY
11755 Wilshire Blvd., Suite 1400
19 || Los Angeles, CA 90025

79 || Attention: David M. Grey, Esq.
Telephone: (310) 477-5455
21 || Fax No. : (310) 479-6469

ATTORNEYS FOR INTERINSURANCE
33 || EXCHANGE OF AUTOMOBILE CLUB

24 || LEWIS, D’AMATO BRISBOIS & BISGARD
LLP

95 || 221 North Figueroa Street, Suite 1200

Los Angeles, CA 90012-2601

Attention: Richard B. Wolf, Esq.
97 || Telephone: (213) 250-1800

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 41 of 58

982(a)(15.3)
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, state bar number, and adaress): FOR COURT USE ONLY |

|-Gary E. Yardumian, Esq. |
PRINDLE, DECKER & AMARO
310 Golden Shore, 4th Floor |
Long Beach, California 90801 |

TELEPHONENO (562) 436-3946 Faxna.: (562) 495-0564 |
ATTORNEY FOR (Name, Cross-Defendants
NAME OF COURT’ SUPERIOR COURT OF THE STATE OF CALIFORNIA
sTREETADDRESs: COUNTY OF LOS ANGELES
MAILINGADDRESS 111 N. Hill Street
city anpzipcope: LOS Angeles, CA
BRaNcHNAME CENTRAL BRANCH

PLAINTIFF/ PETITIONER: TIG INSURANCE COMPANY

DEFENDANT/ RESPONDENT: GARY SMOLKER, et al. |

AMENDED DEPOSITION SUBPOENA CASE NUMBER:
For Personal Appearance BC 173952

THE PEOPLE OF THE STATE OF CALIFORNIA, TO (name, address, and telephone number of deponent, if known):

GREG RANOCCHIA, Grace Davidson . (800) 874-0686
, Located at 101 E. Lincoln Avenue, #240, Anaheim, CA
4. YOU ARE ORDERED TO APPEAR IN PERSON TO TESTIFY AS A WITNESS in this action at the following time and place:

Date:5 /8/01 Time: 10:00 a.m. Address: Prindle, Decker & Amaro

310 Golden Shore, 4th Fl., Long Beach, CA |

_—__)

a. As a deponent who is not a natural person, you are ordered to designate one or more persons to testify on your behalf as
to the matters described in item 2. (Code Civ. Proc., § 2025, subd. (d)(6).)
b. x This deposition will be recorded stenographically through the instant visual display of testimony,
and by audiotape videotape.
6) This videotape deposition is intended for possible use at trial under Code of Civil Procedure section 2025(u)(4).
2 if the witness is a representative of a business or other entity, the matters upon which the witness is to be examined are as
follows:

3. At the deposition, you will be asked questions under oath. Questions and answers are recorded stenographically at the deposition;
later they are transcribed for possible use at trial. You may read the written record and change any incorrect answers before you
sign the deposition. You are entitled to receive witness fees and mileage actually traveled both ways. The money must be paid, at
the option of the party giving notice of the deposition, either with service of this subpoena or at the time of the deposition.

DISOBEDIENCE OF THIS SUBPOENA MAY BE PUNISHED AS CONTEMPT BY THIS COURT. YOU WILL ALSO BE LIABLE
FOR THE SUM OF FIVE HUNDRED DOLLARS AND ALL DAMAGES RESULTING FROM Y@UR FAILURE TO OBEY.

1
Date issued: April 19, 2001 q one
Gary .&.. Yardumian,. Esq............. >

(TYPE OR PRINT NAME}

(Proof of service on reverse)

Ferm fesooved tor Mandatory Use DEPOSITION SUBPOENA Cade of Civil Procedure
obdtents 31 [New Jonuary 1, 2000] FOR PERSONAL APPEARANCE Gclitrinent ce’ = ema

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 42 of 58

GARY E, YARDUMIAN, ESQ. (State Bar No. 131411)
LAW OFFICES OF PRINDLE, DECKER & AMARO, LLP
P.O. BOX 22711

310 GOLDEN SHORE, 4TH FLOOR

LONG BEACH, CA 90801-5511

TELEPHONE: (562) 436-3946

FAX NO. (562) 495-0564

Attorneys for Cross-Defendants, HOME SAVING TERMITE CONTROL, INC.,W.F. MORRIS and
RIKK THOMPSON

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

TIG INSURANCE COMPANY, a California CASENO.: BC 173952

Corporation,

Assigned for all purposes to Judge Dzintra
Plaintiff, Janavs, Department 15

NOTICE OF TAKING DEPOSITION OF

WITNESS, GREG RANOCCHIA

VS.

SMOLKER, an individual, and DOES 1-10,
inclusive,

Date: May 8, 2001

Time: 10:00 a.m.

Place: PRINDLE, DECKER & AMARO
310 Golden Shore, 4" Floor
Long Beach, CA 90801

Defendants.

)

)

)

)

)
GARY SMOLKER, an individual, and ALICE)
)

)

)

)
AND ALL RELATED CROSS-ACTIONS. _)
)

TO ALL PARTIES HEREIN AND THEIR RESPECTIVE ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on May 8, 2001, at 10:00 a.m., at the Law Offices of Prindle.

Decker & Amaro, located at 310 Golden Shore, Fourth Floor, Long Beach, California, Cross-

Defendants, HOME SAVING TERMITE CONTROL, INC., W.F. MORRIS and RIKK THOMPSON.

herein will take the oral deposition of Witness, Greg Ranocchia, before a notary public authorized to
administer oaths in the State of California who is present at the specified time and place.

If said deposition is not completed on said dates, the taking thereof will be continued from day
to day, Sundays and holidays excluded, until completed.

fd

aE Re a aR Ee ae

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 43 of 58

| Defendant hereby demands to be informed by Witness of the need of an interpreter and the -

2 || appropriate language/dialect of the same for the deposition itself within five (5) days prior to the

la

proceeding.

4|| DATED: April 19, 2001
PRINDLE, DECKER & AMARO

tn

—_
8 Aitemeys or x efendant, HOME SAVING
TERMITE CON ROL. INC., W.F. MORRIS and
9 RIKK VHOMPSON

2
NOTICE OF DEPOSITION OF WITNESS, GREG RANOCCHIA

LAW OFFICES OF

DECKER & AMARO Lie

PRIN,

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 44 of 58

PROOF OF SERVICE

STATE OF CALIFORNIA
Ss.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California. | am over the age of eighteen
(18) and am not a party to the within action; my business address is 310 Golden Shore, 4th Floor, Long
Beach, California 90802.

On April /4, 2001, I served the foregoing document described as NOTICE OF TAKING
DEPOSITION OF WITNESS, GREG RANOCCHIA; DEPOSITION SUBPOENA FOR
PERSONAL APPEARANCE on all interested parties in this action, by placing a true copy thereof
enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

Tam "readily familiar" with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with U.S. postal service on that same day with
postage thereon fully prepaid at Long Beach, California in the ordinary course of business. | am aware
that on motion of party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

xx_ (By Mail) I caused such envelope with postage thereon fully prepaid to be placed in the
United States mail at Long Beach, California.

______ (By Fax) I caused such document to be faxed at Long Beach. California. from Fax
No.(562) 495-0564 to Fax No. _ directed to fax numbers listed below_. The facsimile machine I used
complied with Rule 2003(3) and no error was reported by the machine. Pursuant to Rule 2005(1). |
caused the machine to print a record of the transmission, a copy of which is attached to this declaration.

(By Personal Service) I caused such envelope to be delivered by hand to the
addressee(s). Gary S. Smolker, Esq., LAW OFFICE OF SMOLKER & GRAHAM, 4720 Lincoln Blvd..
Ste. 280, Marina Del Rey, CA 90292

xx_ (State) I declare under penalty of perjury under the laws of the State of California that

the foregoing is true and correct.
____ (Federal) J declare that I am employed in the office of a member of the bar of this court |
at whose direction the service was made.

Executed on April _|4, 2001, at Long Beach, California.
l

M. Hsther Juaréz)

LAW OFFICES OF

Decne & AASEARO nor

PRiIiNdILE,

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 45 of 58

SERVICE LIST

TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

GARY S. SMOLKER

Gary S. Smolker, Esq.

Alice M. Graham, Esq.

LAW OFFICE OF SMOLKER & GRAHAM
4720 Lincoln Blvd., Ste. 280

Marina Del Rey, CA 90292

(310) 574-9880

(310) 574-9883 (fax)

DENNIS _A. BABBITS.COREGIS GROUP,

ING.

COREGIS INS. CO., DEAN & ASSOCIATES
and CALIFORNIA INSURANCE COMPANY
Jeffrey A. Charlston, Esq.

Robert D. Hoffman, Esq.

CHARLSTON, REVICH & WILLIAMS LLP
1840 Century Park East, 3 Floor

Los Angeles, CA 90067-2104

(310) 551-7000

(310 203-9321 fax

TRUCK INSURANCE EXCHANGE/
UNDERWRITERS ASSOCIATION
FARMERS GROUP. INC., FARMERS
INSURANCE GROUP OF COMPANIES
Sara M. Thorpe, Esq.

GORDON & REES, LLP

Embarcadero Center West

275 Battery Street, Twentieth Floor
San Francisco,CA 94111

Telephone: (415) 986-5900

Fax No. : (415) 986-8054

JoLynn M. Pollard, Esq.

GORDON & REES, LLP

300 South Grand Avenue, 20" Floor
Los Angeles, CA 90071

Telephone: (213) 576-5000

Fax No. : (213) 680-4470

RELIANCE INSURANCE COMPANY
David L. Hughes, Esq.
Stacie L. Brandt, Esq.

BOOTH, MITCHELL & STRANGE. LLP

701 South Parker Street, Suite 6500

PO Box 11055

Orange, CA 92856-8155

Telephone : (714) 480-8500

Fax No.: (714) 480-8533

TIG INSURANCE COMPANY
Larry M. Amold, Esq.

Annabelle M. Harris, Esq.

J. Thomas Gilbert, Esq.

Laura N. MacPherson, Esq.
CUMMINS & WHITE

2424 S.E. Bristol St., Suite 300
Newport Beach,CA 92660-0757
(949) 852-1800

W.R. GRACE & CO.; GRACE DIVISION
ALBERT COSTELLO and JAMES R. HYDE
Bryan Porter, Esq.

Rosemarie 8. Lewis, Esq.

BORTON, PETRINI & CONRON

707 Wilshire Blvd., Suite 5100

Los Angeles, CA 90017-3613

(213) 624-2869

(213) 489-3930 (fax)

FRONTIER PACIFIC INSURANCE CO.
Jeffrey Horowitz, Esq.

HOROWITZ, SOLOMON & PARKER
6404 Wilshire Blvd., #850

Los Angeles, CA 90048-5510

(213) 653-2518

(213) 653-0669 fax

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 46 of 58

SERVICE LIST
TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

LAW OFFICES OF

DeCKER & AMARO tne

Pings,

ATTORNEYS FOR DEFENDANT/CROSS-

COMPLAINANTS, JAMES HOLLAND and
JULIE HOLLAND

GIBBS, GIDEN, LOCHER & TURNER
2029 Century Park East, 34" Floor
Los Angeles, CA 90067-3039

Attention: Michael B. Geibel
Telephone: (310) 552-3400
Fax No.: (310) 552-0805

ATTORNEYS FOR CAROL D. KAY,
TRUSTEE OF THE CAROL D. KAY 1989
TRUST

FONDA, HILBERMAN & FRASER, L.L.P.
1888 Century Park East, Suite 1777
Los Angeles, CA 90067

Attention: Cecille L. Hester, Esq.
Telephone: (310) 553-3320
Fax No.: (310) 553-4232

COUNSEL FOR PACIFIC VILLAS
HOMEOWNER’S ASSOCIATION

MURAWSKI & GREY
11755 Wilshire Blvd., Suite 1400
Los Angeles, CA 90025

Attention: David M. Grey, Esq.
Telephone: (310) 477-5455
Fax No. : (310) 479-6469

ATTORNEYS FOR INTERINSURANCE
EXCHANGE OF AUTOMOBILE CLUB

LEWIS, D’AMATO BRISBOIS & BISGARD
LLP

221 North Figueroa Street, Suite 1200

Los Angeles, CA 90012-2601

Attention: Richard B. Wolf, Esq.
Telephone: (213) 250-1800

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 47 of 58

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 48 of 58

GARY E. YARDUMIAN, ESQ. (State Bar No. 131411)

LAW OFFICES OF PRINDLE, DECKER & AMARO, LLP

P.O. BOX 22711

310 GOLDEN SHORE, 4TH FLOOR

LONG BEACH, CA 90801-5511

TELEPHONE: (562) 436-3946 }
FAX NO. (562) 495-0564
Attorneys for Cross-Defendants, HOME SAVING TERMITE CONTROL, INC.,W.F. MORRIS and °
RIKK THOMPSON

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES

TIG INSURANCE COMPANY, a California CASE NO.: BC 173952
Corporation,
Assigned for all purposes to Judge Fruin,
Plaintiff, Department 15

NOTICE OF TAKING DEPOSITION AND
REQUEST FOR PRODUCTION OF
DOCUMENTS OF THE PERSON MOST
KNOWLEDGEABLE FOR GRACE
DAVIDSON

Vs.

GARY SMOLKER, an individual, and ALICE
SMOLKER, an individual, and DOES 1-10,
inclusive,

Defendants. Date: May 8, 2001

Time: 1:00 p.m.

Place: PRINDLE, DECKER & AMARO
310 Golden Shore, 4" Floor

Long Beach, CA 90801

AND ALL RELATED CROSS-ACTIONS.

Re ee eet Nl Ne Nl el Nel Ne et a Ne Ne et ee”

TO ALL PARTIES AND TO THEIR RESPECTIVE ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on May 8, 2001, at 1:00 p.m., at the Law Offices of Prindle, Decke:
& Amaro, located at 310 Golden Shore, 4th Floor, Long Beach, California, Defendant, Cross-Defendants
HOME SAVING TERMITE CONTROL, INC.,W.F. MORRIS and RIKK THOMPSON, will take the
deposition of the third party witness who is the "PERSON MOST KNOWLEDGEABLE" for GRACE
DAVIDSON.

The person or persons designated for the deposition by GRACE DAVIDSON should be th

person(s) most knowledgeable concerning the following:
1

NOTICE OF TAKING DEPOSITION AND REQUEST FOR PRODUCTION OF
DOCUMENTS OF THE PERSON MOST KNOWLEDGEABLE FOR GRACE DAVIDSON

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 49 of 58

1. Regarding sales, supplies, marketing and advertising for Grace Davidson for “Dri-Die,” “Drione.”
“Drj-Out,” and Syloid 244.

2. Regarding documents submitted to the Agricultural Commission referencing “Dri-Die,” “Drione,”
“Dri-Out,” and Syloid 244.

a. Regarding invoices, bills, and\or purchases, sales, distributions of ‘Dri-Die,” “Drione,” “Dri- Out.”
and Syloid 244. .

4. Regarding animal studies, health risk assessments, toxicological data, studies referencing or
referring to “Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

5. Regarding pesticide labels, MSDs and\or instruction materials referencing or mentioning “Dri-Die,”
“Drione,” “Dri-Out,” and Syloid 244.

6. . Regarding research developments and\or toxicology data on “Dri- Die,” “Drione,” “Dri-Out,” and
Syloid 244.

This deposition will be taken before a Notary Public in and for the State of California, or other such
officer authorized to administer oats who may bé present at said time and place. Said deposition wil!
continue from day to day, excluding Sundays and holidays, until completed.

PLEASE TAKE FURTHER NOTICE that deponent is requested to produce at said time anc

place of his\her respective deposition, the following documents, papers, and things for copying anc

examination, pursuant to Code of Civil Procedure § 2025(h)(1). The above-mentioned documents are
listed in the attached Exhibit “A.”
DATED: April 20, 2001 PRINDLE, DECKER & AMARO

ARY E. YARDUMIAN
Keone or Crbss-Defendant, HOME SAVIN‘
TERMITI CONTROL, INC., W.F. MORRIS an
RIKK THOMPSON

Zz

NOTICE OF TAKING DEPOSITION AND REQUEST FOR PRODUCTION OF
DOCUMENTS OF THE PERSON MOST KNOWLEDGEABLE FOR GRACE DAVIDSON

Pe I EL SIE

¥
'

ta

tn

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 50 of 58

EXHIBIT “A”
l. Any and all sales, supply, marketing and advertising documents from Grace Davidson for
“Drji-Die,” “Drione,” “Drj-Out,” and Syloid 244 from 1990 to present.
2. Any and all documents submitted to the Agricultural Commission referencing “Dri-Die,”

“Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.

3. Any and all invoices, bills and or statements for the purchase, sale, distribution of “Dri-Die,” |

“Drione,” “Dri-Out,” and Syloid 244 from 1990 to present.
4, Any and all animal studies, health risk assessments, toxicological data and\or studies

mentioning, referencing or referring to “Dri-Die,” “Drione,” “Dri-Out,” and Syloid 244.

5 Any and all pesticide labels, MSDS and\or instruction materials referencing, mentioning
“pri-Die,” “Drione,” “Dri-Out,” and Syloid 244. /
6. Any and all research development, toxicology data on “Dri-Die,” “Drione,” “Dri-Out,” and

Syloid 244.

LAW OLFICES OF
PRINDLE, DECKER & AMARO tip

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 51 of 58

PROOF OF SERVICE

STATE OF CALIFORNIA ;
Ss.
COUNTY OF LOS ANGELES )

| am employed in the County of Los Angeles, State of California. I am over the age of eighteen
(18) and am not a party to the within action; my business address is 310 Golden Shore, 4th Floor, Long
Beach, California 90802.

es

On April A0, 2001, I served the foregoing document described as NOTICE OF TAKING
DEPOSITION AND REQUEST FOR PRODUCTION OF DOCUMENTS OF THE PERSON
MOST KNOWLEDGEABLE FOR GRACE DAVIDSON and DEPOSITION SUBPOENA FOR
PERSONAL APPEARANCE on all interested parties in this action, by placing a true copy thereof
enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

Lam "readily familiar" with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with U.S. postal service on that same day with
postage thereon fully prepaid at Long Beach, California in the ordinary course of business. I am aware
that on motion of party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

xx. (By Mail) I caused such envelope with postage thereon fully prepaid to be placed in the
United States mail at Long Beach, California.

(By Fax) | caused such document to be faxed at Long Beach, California, from Fax
No.(562) 495-0564 to Fax No. _ directed to fax numbers listed below.. The facsimile machine | used
complied with Rule 2003(3) and no error was reported by the machine. Pursuant to Rule 2005(I). |
caused the machine to print a record of the transmission, a copy of which is attached to this declaration.

(By Personal Service) 1 caused such envelope to be delivered by hand to the
addressee(s). Gary S. Smolker, Esq., LAW OFFICE OF SMOLKER & GRAHAM, 4720 Lincoln Blvd.,
Ste, 280, Marina Del Rey, CA 90292

xx_ (State) I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

_____— (Federal) | declare that I am employed in the office ofa member of the bar of this court
at whose direction the service was made.

Executed on April WW. , 2001, at Long Beach, California.

/

M. EstherJuared__)

LAW OFFICES OF
PrRINDLE, Decker & AMARO LLP

SERVICE LIST

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 52 of 58

TIG INSURANCE COMPANY vs. GARY SM OLKER, et al.
LASC, Central District, Case No. BC 1 73 952

GARY S. SMOLKER: ©

Gary S. Smolker, Esq.

Alice M. Graham, Esq.

LAW OFFICE OF SMOLKER & GRAHAM
4720 Lincoln Blvd., Ste. 280

Marina Del Rey, CA 90292

(310) 574-9880

(310) 574-9883 (fax)

DENNIS A. BABBITS.COREGIS GROUP,
INC...

COREGIS INS. CO.. DEAN & ASSOCIATES
and CALIFORNIA INSURANCE COMPANY
Jefirey A. Charlston, Esq.

Robert D. Hoffman, Esq.

CHARLSTON, REVICH & WILLIAMS LLP
1840 Century Park East, 3° Floor

Los Angeles, CA 90067-2104

(310) 551-7000

(310 203-9321 fax

TRUCK INSURANCE EXCHANGE/
UNDERWRITERS ASSOCIATION
FARMERS GROUP. INC.. FARMERS
INSURANCE GROUP OF COMPANIES
Sara M. Thorpe, Esq.

GORDON & REES, LLP
Embarcadero Center West

275 Battery Street, Twentieth Floor
San Francisco,CA 94111

Telephone: (415) 986-5900

Fax No. : (415) 986-8054

JoLynn M. Pollard, Esq.

GORDON & REES, LLP

300 South Grand Avenue, 20" Floor
Los Angeles, CA 90071

Telephone:
Fax No. :

(213) 576-5000
(213) 680-4470

RELIANCE INSURANCE COMPANY

David L. Hughes, Esq.

Stacie L. Brandt, Esq.

BOOTH, MITCHELL & STRANGE, LLP
701 South Parker Street, Suite 6500.

PO Box 11055

Orange, CA 92856-8155

Telephone : (714) 480-8500

Fax No.: (714) 480-8533

TIG INSURANCE COMPANY
Larry M. Arnold, Esq.

Annabelle M. Harris, Esq.

J. Thomas Gilbert, Esq.

Laura N. MacPherson, Esq.
CUMMINS & WHITE

2424 S.E. Bristol St., Suite 300
Newport Beach, CA 92660-0757
(949) 852-1800

W.R. GRACE & CO.: GRACE DIVISIO*
ALBERT COSTELLO and JAMES R. HYDE
Bryan Porter, Esq.

Rosemarie S. Lewis, Esq.

BORTON, PETRINI & CONRON

707 Wilshire Blvd., Suite 5100

Los Angeles, CA 90017-3613

(213) 624-2869

(213) 489-3930 (fax) .

FRONTIER PACIFIC INSURANCE CO.
Jeffrey Horowitz, Esq.

HOROWITZ, SOLOMON & PARKER
6404 Wilshire Blvd., #850

Los Angeles, CA 90048-5510,

(213) 653-2518

(213) 653-0669 fax

LAW OFFICES OF
PRIND Le, Wwe & AMARO Lue

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 53 of 58

SERVICE LIST
TIG INSURANCE COMPANY vs. GAR Y SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

ATTORNEYS FOR DEFENDANT/CROSS-
COMPLAINANTS, JAMES HOLLAND ‘and
JULIE HOLLAND

GIBBS, GIDEN, LOCHER & TURNER
3029 Century Park East, 34" Floor
Los Angeles, CA 90067-3039

Attention: Michael B. Geibel
Telephone: (310) 552-3400

Fax No.: (310) 552-0805

ATTORNEYS FOR CAROL D._KAY,
TRUSTEE OF THE CAROL D. KAY 1989
TRUST

FONDA, HILBERMAN & FRASER, L.L-P.
1888 Century Park East, Suite 1777
Los Angeles, CA 90067

Attention: Cecille L. Hester, Esq.
Telephone: (310) 553-3320
Fax No.: (310) 553-4232

COUNSEL FOR PACIFIC VILLAS
HOMEOWNER’S ASSOCIATION

MURAWSKI & GREY
11755 Wilshire Blvd., Suite 1400
Los Angeles, CA 90025

Attention: David M. Grey, Esq.
Telephone: (310) 477-5455
Fax No. : (310) 479-6469

ATTORNEYS FOR INTERINSURANCE
EXCHANGE OF AUTOMOBILE CLUB

LEWIS, D’AMATO BRISBOIS & BISGARD
LLP

321 North Figueroa Street, Suite 1200

Los Angeles, CA 90012-2601

Attention: Richard B. Wolf, Esq.
Telephone: (213) 250-1800

a2

un

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 54 of 58

Defendant hereby demands to be informed by Witness of the need of an interpreter and the -
appropriate language/dialect of the same for the deposition itself within five (5) days prior to the
proceeding.

DATED: April 19, 2001
PRINDLE, DECKER & AMARO

Yo
Kersey: or Ciyss-Defendant, HOME SAVINC
TERMITVE CONTROL, INC., W.F. MORRIS an
RIKK YHOMPSON

2
NOTICE OF DEPOSITION OF WITNESS, GREG RANOCCHIA
LAW OFFICES OF

Deck & AMARO unr

PRIN,

to

un

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 55 of 58

PROOF OF SERVICE .

STATE OF CALIFORNIA ;
SS.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California. I am over the age of ei ghteen
(18) and am nota party to the within action; my business address is 310 Golden Shore, 4th Floor, Long
Beach, California 90802.

On April ga, 2001, I served the foregoing document described as NOTICE OF TAKING
DEPOSITION OF WITNESS, GREG RANOCCHIA; DEPOSITION SUBPOENA FOR
PERSONAL APPEARANCE on all interested parties in this action, by placing a true copy thereof
enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[am "readily familiar" with the firm's practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with U.S. postal service on that same day with
postage thereon fully prepaid at Long Beach, California in the ordinary course of business. | am aware
that on motion of party served, service is presumed invalid if postal cancellation date or postage meter
date is more than one day after date of deposit for mailing in affidavit.

xx_ (By Mail) I caused such envelope with postage thereon fully prepaid to be placed in the
United States mail at Long Beach, California.

_____ (By Fax) I caused such document to be faxed at Long Beach. California. from Fax
No.(562) 495-0564 to Fax No. _ directed to fax numbers listed below.. The facsimile machine I used
complied with Rule 2003(3) and no error was reported by the machine. Pursuant to Rule 2005(1). |

caused the machine to print a record of the transmission, a copy of which is attached to this declaration.

(By Personal Service) I caused such envelope to be delivered by hand to the
addressee(s). Gary S. Smolker, Esq., LAW OFFICE OF SMOLKER & GRAHAM, 4720 Lincoln Blvd.,
Ste. 280, Marina Del Rey, CA 90292

xx_ (State) I declare under penalty of perjury under the laws of the State of California that
the foregoing is true and correct.

___ (Federal) I declare that I am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed on April _[4, 2001, at Long Beach, California.

M. Hsther Juarez)

LAW OFFICES OF

P1eaNdtde,

Diecier & AMARO Lie

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 56 of 58

SERVICE LIST
TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

GARY S. SMOLKER

Gary S. Smolker, Esq.

Alice M. Graham, Esq.

LAW OFFICE OF SMOLKER & GRAHAM
4720 Lincoln Blvd., Ste. 280

Marina Del Rey, CA 90292

(310) 574-9880

(310) 574-9883 (fax)

DENNIS A. BABBITS.COREGIS GROUP.

INC..

COREGIS INS. CO., DEAN & ASSOCIATES

and CALIFORNIA INSURANCE COMPANY
Jeffrey A. Charlston, Esq.

Robert D. Hoffman, Esq.

CHARLSTON, REVICH & WILLIAMS LLP
1840 Century Park East, 3 Floor

Los Angeles, CA 90067-2104

(310) 551-7000

(310 203-9321 fax

TRUCK INSURANCE EXCHANGE/
UNDERWRITERS ASSOCIATION
FARMERS GROUP. INC.. FARMERS
INSURANCE GROUP OF COMPANIES
Sara M. Thorpe, Esq.

GORDON & REES, LLP
Embarcadero Center West

275 Battery Street, Twentieth Floor
San Francisco, CA 94111

Telephone: (415) 986-5900

Fax No. : (415) 986-8054

JoLynn M. Pollard, Esq.

GORDON & REES, LLP

300 South Grand Avenue, 20" Floor
Los Angeles, CA 90071

Telephone: (213) 576-5000

Fax No. : (213) 680-4470

RELIANCE INSURANCE COMPANY
David L. Hughes, Esq.

Stacie L. Brandt, Esq.

BOOTH, MITCHELL & STRANGE. LLP
701 South Parker Street, Suite 6500

PO Box 11055

Orange, CA 92856-8155

Telephone : (714) 480-8500

Fax No.: (714) 480-8533

TIG INSURANCE COMPANY
Larry M. Arnold, Esq.

Annabelle M. Harris, Esq.

J. Thomas Gilbert, Esq.

Laura N. MacPherson, Esq.
CUMMINS & WHITE

2434 SE. Bristol St., Suite 300
Newport Beach, CA 92660-0757
(949) 852-1800

W.R. GRACE & CO.; GRACE DIVISIC
ALBERT COSTELLO and JAMES R. HYD
Bryan Porter, Esq.

Rosemarie 8. Lewis, Esq.

BORTON, PETRINI & CONRON

707 Wilshire Blvd., Suite 5100

Los Angeles, CA 90017-3613

(213) 624-2869

(213) 489-3930 (fax)

FRONTIER PACIFIC INSURANCE CO.
Jeffrey Horowitz, Esq.

HOROWITZ, SOLOMON & PARKER
6404 Wilshire Blvd., #850

Los Angeles, CA 90048-5510

(213) 653-2518

(213) 653-0669 fax

-_- &

LAW OFFICES OF

DeecwKeR & AALARO Lie

PRINT EI,

tn

Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 57 of 58

SERVICE LIST
TIG INSURANCE COMPANY vs. GARY SMOLKER, et al.
LASC, Central District, Case No. BC 173 952

ATTORNEYS FOR DEFENDANT/CROSS-

COMPLAINANTS. JAMES HOLLAND and
JULIE HOLLAND

GIBBS, GIDEN, LOCHER & TURNER
2029 Century Park East, 34" Floor
Los Angeles, CA 90067-3039

Attention: Michael B. Geibel
Telephone: (310) 552-3400
Fax No.: (310) 552-0805

ATTORNEYS FOR CAROL D. KAY,
TRUSTEE OF THE CAROL D. KAY 1989
TRUST

FONDA, HILBERMAN & FRASER, L.L.P.
1888 Century Park East, Suite 1777
Los Angeles, CA 90067

Attention: Cecille L. Hester, Esq.
Telephone: (310) 553-3320
Fax No.: (310) 553-4232

COUNSEL FOR PACIFIC VILLAS
HOMEOWNER’S ASSOCIATION

MURAWSKI & GREY
11755 Wilshire Blvd., Suite 1400
Los Angeles, CA 90025

Attention: David M. Grey, Esq.
Telephone: (310) 477-5455
Fax No. : (310) 479-6469

ATTORNEYS FOR INTERINSURANCE
EXCHANGE OF AUTOMOBILE CLUB

LEWIS, D’AMATO BRISBOIS & BISGARD
LLP

221 North Figueroa Street, Suite 1200

Los Angeles, CA 90012-2601

Attention: Richard B. Wolf, Esq.
Telephone: (213) 250-1800

a. Case 01-01139-AMC Doc161-1 Filed 05/01/01 Page 58 of 58

a

CERTIFICATE OF SERVICE

I, SHERRY RUGGIERO FALLON,

certify that I am not less than 18

years of age; that service of this notice and a copy of the motion

was made May 1, 2001 in accordance with BR 7004 on:

Laura Davis Jones, Esquire
David Carickoff, Esquire
Pachulski, Stang, Ziehl et al.
919 N. Market St., Suite 1600
Post Office Box 8705
Wilmington, DE 19899-8705

Hamid R. Rafatjoo, Esquire
Pachulski, Stang, Ziehl, et al.
10100 Santa Monica Blvd.

Los Angeles, CA 90067-4100

Steven M. Yoder, Esquire
The Bayard Firm

222 Delaware Avenue

P.O. Box 25130
Wilmington, DE 19899

Frank J. Perch, Esquire

Office of United State Trustee
601 Walnut St., Room 950 West
Philadelphia, PA 19106

Scott L. Baena, Esquire
Member

Bilzin, Sumberg, Dunn, Baena,
Price & Axelrod LLP

First Union Financial Center
200 South Biscayne Boulevard
Suite 2500

Miami, FL 33131

David B. Siegel
W.R. Grace & Co.
7500 Grace Drive
Columbia, MD 21044

Robert N. Ridenour, Esquire
Borton, Petrini & Conron

707 Wilshire Blvd., 51°° Floor
Los Angeles, CA 90017-3613

James H. M. Spraygeren, Esquire
James Kapp, III, Esquire
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

J. Douglas Bacon, Esquire
Latham & Watkins

Sears Tower, Suite 5800
Chicago, IL 60606

Lewis Kruger, Esquire

Stroock & Stroock & Lavan LLP
180 Maiden Lane

New York, NY 10038-4982

Elihu Inselbuch, Esquire
Caplin & Drysdale, Chartered
399 Park Avenue, 36°” Floor
New York, NY 10022

TYBOUT, REDFEARN & PELL

Sys

SHERRY RU us ada
300 “Bae 2092 avare nue? oo 1100
P.O. Bax

2-0. ‘bax 2099 4p 1 399

(302) 658- 6901
